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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN MAHONEY, On Behalf of                  :     CIVIL ACTION
On Behalf of Himself and All                :
Others Similarly Situated                   :
                                            :
      v.                                    :
                                            :
FILOBLU USA, CORP.                          :     NO. 19-5761

                                       ORDER


      NOW, this 26th day of February, 2020, the plaintiff having failed to file a request

for default in compliance with the Notice of January 24, 2020, it is ORDERED that this

action is DISMISSED WITHOUT PREJUDICE for failure to prosecute.




                          /s/ TIMOTHY J. SAVAGE J.
